Case 4:12-cv-15469-GAD-MKM ECF No. 1, ay. Filed peo Page 1 of 42

cv
UY 94

United States District Court

Eastern District Court of Michigan

AMMAR KHUDHIR

4390 15 Mile Rd.
Sterling Heights, MI 48310
(586) 222 — 8234

Plaintiff,

JP MORGAN CHASE BANK
5601 Metropolitan Parkway

Sterling Heights, MI 48310

Defendant(s),

 

Case:4: 12-cv-15469

Judge: Drain, Gershwin A.

MJ: Majzoub, Mona K.

Filed: 12-13-2012 At 04:34 PM

CMP AMMAR KHUDHIR V JP MORGAN CHASE
BANK (LG)

CASE NO.

COMPLAINT FOR DAMAGES:
STATUTARY CLAIM FOR

DAMAGE OF REPUTATION;
DISCRIMINATION AGAINST NAME
AND NATIONAL ORIGIN; EMOTIONAL

DISTRESS; EQUAL OPPORTUNITY

 

42
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.2 Filed 12/13/12 Page 2 of 42

COMPLAINT

COMES NOW Plaintiff AMMAR KHUDHIR and states the following:

Chase Operating Loss Prevention department forwarded a letter to the plaintiff,
AMMAR KHUDHIR, on the 13™ of October 2011 entailing that after a review of
their records of his savings, checking and credit card accounts, they are unable to
retain the plaintiffs accounts at JPMorgan Chase bank.

Defendant JPMorgan Chase Bank is being sued herein for:
1. Defamation and damages to the plaintiff’s reputation

a. Nothing was disclosed in the letter as to what the review of their
records regarding the plaintiff’s accounts revealed and they exposed
no information when the plaintiff went to their branch in person to
inquire about their action (Please see exhibit A, page 3).

b. The plaintiff can no longer wire money, write checks for contracts
through the defendant’s business, his credit card was canceled by the
defendant who has declined to issue the plaintiff a new one (Please
see exhibit A, page 1).

c. Plaintiff's family and friends whom he has dealt with in the past don’t
accept checks from him for any transaction. Ever since the plaintiff
told his friends what happened, they don’t trust him anymore and
some of them said- banks don’t just close accounts unless the
individual is a drug dealer, a scammer or a terrorist.

d. The defendant’s action has caused the plaintiff a great
embarrassment and he often feels awkward when dealing with
friends and colleagues.

e. The plaintiff was never delinquent with his credit card payments and
had excellent credit scores. The plaintiff has done nothing wrong to
have his Visa credit card issued by the defendant canceled.
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f. The plaintiff asked the defendant to give a reason for its action so
that the plaintiff may correct anything he is unaware of; the
defendant did not disclose a single reason.

2. Discrimination against plaintiff's name and national origin. The
defendant closed plaintiff’s checking, savings, credit and debit accounts
after three years without revealing a reason. The plaintiff is a well-
known person within the community; he is a notary public and has
served as a volunteer at the Lutheran Social Services in the State of
Michigan (Please see exhibit B).

a. The defendant’s employees told the plaintiff that his name has
been placed on the defendant’s black list and that the plaintiff is
unable to borrow money as loans for mortgage, he is not allowed
to open personal or business checking or savings accounts, and the
defendant will not issue the plaintiff any credit cards (Please see
exhibit A, Pages 1-2).

b. The Defendant’s employees also told the plaintiff that the
defendant does not wish to do any business with him whatsoever
even if he is a part of any business or company and he is unable to
purchase property through the defendant.

c. The letter the plaintiff received from the defendant states “The
bank reserves the right to close the accounts earlier, at any time,
for any reason, without notice.” Yet, no reason has been
mentioned (Please see exhibit A, Page 3).

d. The plaintiff has been unable to think of a single valid reason for
the defendant’s action other than discrimination against his name
and national origin.

e. The defendant not only closed the plaintiff’s accounts upon
reviewing his records, but the plaintiff’s wife, Zina Yousif’s
accounts as well? The decision involved all family members who
dealt with the defendant (Please see exhibit C).

3
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.4 Filed 12/13/12 Page 4 of 42

f. Plaintiff has the right to information; he needs to be provided with
reasons as to why his accounts were closed.

3. Emotional distress leading to pain and suffering for damages and injuries
to the plaintiff’s state of well-being. The plaintiff’s is in an emotional
agony and his mental status has been substantially affected ever since.

a. Plaintiff couldn’t sleep the first three weeks after learning of the
decision, and was very frightened; he went on and contacted the
local police, the IRS, local courts, and even the FBI asking if there is
anything against him that he is unaware of. All assured the plaintiff
that there is nothing against him after checking his records.

b. Plaintiff is on several medications for vascular diseases such as
diabetes, high blood pressure, high cholesterol and triglycerides.
His blood pressure has been uncontrollable and his glucose level
has been up and down because of this unnecessary worry that has
traumatized him mentally and set him in a deleterious state of mind
where he doubts everything in his life (Please see exhibit D).

c. The defendant’s action has increased the plaintiff's emotional
distress several folds to a point where it has begun to affect his
sleep, social encounters, and his relationship with friends and
family in the past year.

d. The plaintiff has never had his bank accounts closed by any bank
anywhere in the world, and finds the defendant’s action insulting
especially when he has done nothing wrong.

e. The defendant’s action has made plaintiff tentative, apprehensive,
and frightened to continue doing work, opening a business, or
bringing his funds from back home.

f. The plaintiff has been slower in moving forward with the simplest
transactions, and has been second guessing everything he does and
does not say much to anyone anymore like he used to.
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g. The plaintiff has doubted his abilities to perform tasks for the last
several months, even those simple normal daily tasks that he
carried out effortlessly in the past.

h. The Plaintiff is living in trepidation for months now; he feels as
though he is a suspect who could be arrested at any moment. He is
not sure what the defendant has against him and why was he
placed in its black list.

4. Equal opportunity for any US resident and equal treatment for all people
including the availability of the same rights.

a. Defendant has denied plaintiff his right to an equal treatment by
closing his accounts and depriving him from his basic rights of
banking with an institution that is open for business that deals with
all people (customers) without discrimination.

b. The Plaintiff believes that he has been singled out and mistreated
by the defendant’s unfair action and does not see the defendant as
an equal opportunity entity towards him.

c. Defendant has offered nothing to the plaintiff to regain him as a
customer once again and has not admitted or acknowledged that it
has been treated the plaintiff unfairly.

d. At the time of opening the accounts with the defendant, the
plaintiff was not told to initial every part of the booklet provided by
the defendant to acknowledge the plaintiff has understood what
was explained and place his initials on it for documentation
purposes. The plaintiff and his wife were told to sign the first page
of the booklet only (Please see Exhibit E).
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CAUSE OF ACTION

1. For damages to the plaintiff’s reputation.

2. For discrimination against plaintiff’s national origin including ethnic
background, and name.

3. For the emotional distress which has hindered plaintiff’s health and his
state of wellbeing as he constantly worries about being arrested even
though he has done nothing wrong or illegal.

4. For denying plaintiff the equal opportunity as a person exercising his basic
rights.

DEMANDS
Based on the foregoing, the plaintiff asks:

1. The plaintiff asks for an official letter of apology from the defendant where
he can show to family, friends and colleagues, and whereby he may restore
his reputation and redeems their trust in him.

2. The plaintiff asks for a relief through financial compensation by the
defendant in the amount of five million US dollars for all item listed above
because until this moment, he has been suffering from the outcomes of this
incident.

| hereby demand a jury trial on this issue

Dated: December 10, 2012

Ate
AMMAR KHUDHIR
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.7 Filed 12/13/12 Page 7 of 42

Exhibit A
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.8 Filed 12/13/12 Page 8 of 42

Cardmember Services

Attn: Executive Office CHASE o

Mailstop: 1L1-6215
2500 Westfield Drive
Elgin, IL. 60124
1-877-225-0851

November 11, 2011

07187 RCS 001 003 31611 - NNNNNNNNNNNN
Ammar A Khudhir

4390 15 Mile Rd
Sterling Heights MI 48310-5411

Important information is
provided below regarding
your account.

RE: Your account ending in 0566

Dear Ammar A Khudhir:

We are writing to notify you that we have closed the account referenced above. This action was taken in accordance
with our rights under the section titled, Termination, within your Cardmember Agreement.

We are taking this action due to the following reason:
Chase affiliate has closed your account

If there is a balance owing on the account, we will continue to send monthly statements until the balance is
paid in full.

In addition, please destroy all the cards and checks that access this account. Also, please be sure to contact any
merchants that you have authorized to make automatic charges, such as for insurance, memberships, or ongoing
services. You will need to cancel those charges or make other payment arrangements.

Sincerely,

Cardmember Services
4-877-225-0851

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.9 Filed 12/13/12 Page 9 of 42

PO BOX 659732

SAN ANTONIO, TX 78265-9729 C S Ee a.
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003788-1-1 LADO ZA 1 1305-0000000C0000

AMMAR A KHUDHIR
4390 15 MILE RD
STERLING HEIGHTS, MI 48310-5411

Account number ending in: 5775 important Information
11/01/2011 Regarding Your Account

We are writing to notify you that we are closing your deposit account(s) in accordance with your Chase deposit
agreement terms and conditions.

Important information:
* Your account(s) will be closed 10 business days from the date of this letter.
* Your ATM/Debit card(s) will become invalid immediately.
* All funds in this account will be made unavailable for withdrawal and your remaining balance will be returned to you
five business days after the closing date.
* Any fees, claims or other amounts owed will be deducted from the balance forward.
* If your account is overdrawn, Chase may remove funds from any other Chase account on which you are a signer

(including joint accounts) to pay all or part of the overdraft.

Here's what you need to do:
* Please stop writing checks or making withdrawals on this account immediately.
* Please stop using any ATM/Debit card(s) for this account, and destroy the cards.
* Cancel any pre-arranged automatic debits or credits for this account.
« If your account is overdrawn, please make a deposit of cash or certified funds immediately.

If you have any questions or need further assistance, please call us at 4-877-691-8086 Option #2, our team can assist
you Monday through Sunday, from 7 a.m. - 11 p.m. Eastern Time.

JPMorgan Chase Bank, N.A., Member FDIC.

Please note: Based on your account activity and its subsequent closure by Chase, we may elect to report the closure
of your account and the reason for closure to ChexSystems and/or Credit Bureaus.

Si tiene cualquier pregunta, por favor flama al 1-877-691-8086 y selecciona opcidn 2 y juego opcién 2. Nuestros
representantes estan disponibles para ayudarte en espafiol de lunes a domingo de 7 de la mafiana a 11 (EST) de la
tarde.

If you are calling from outside of the US, please call 713-427-6380.
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Case 4:12-cv-15469-GAD-MKM ECF No.1, PagelD.10 Filed 12/13/12 Page 10 of 42

CHASE ©

Chase Operating Loss Prevention
10/13/2011

KHUDHIR, AMMAR A
4390 15 MILE RD
STERLING HEIGHTS, MI 48310-5411

Re: Account Number(s) 2921805368;7999488 15; 849647987
Reference event #3239964

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Dear Customer: 7

A review of our records indicates that we are unable to retain your above-referenced account(s) (the

 

Accounts") at JPMorgan Chase Bank, N.A. (the "Bank”).

The terms and conditions governing the Accounts ("Account Rules") provide that the Bank may close your
Accounts at any time. Although the Account Rules do not require the Bank to provide you with advance notice

~Of the termination of the Accounts, as a courtesy, please be advised that the Accounts will be terminated and
closed after the close of business on 10/30/2011. Any items presented for payment on the Accounts and not paid
prior to termination will be returned unpaid. If the Accounts were covered by Overdraft Protection, as that term
is defined in the Account Rules, such Overdraft Protection will terminate with respect to the Accounts on the

Termination Date.

Please do not deposit checks to the Accounts within five (5) business days of the Termination Date or any
earlier date that you close the Accounts. Please arrange to cause any Automated Clearing House or ACH
deposits or transfers to the Accounts to be terminated prior to closure. Provided that no checks have been
deposited to your Accounts within the five (5) business day period before the Accounts are closed and no
deposits of any kind have been made to your Accounts within a two (2) business day period before such
closure, upon closure the Bank will, at your risk, mail to you at the address set forth above a check for the
balance of your Accounts, less any service charges assessed to the Accounts. If deposits are made to the
Accounts prior to closure inconsistent with the foregoing, the Bank will mail your check as soon as reasonably
possible following closure of the Accounts. If you wish to make other arrangements for receipt of any funds
remaining in the Accounts or if you have questions, please contact 1-877-691-8086 OPTION-NUMBER-1.

Notwithstanding the Bank's intent to allow the Accounts to remain open until 10/30/2011 as set forth above, the
Bank reserves the right to close the Accounts earlier, at any time, for any reason, without notice.

Sincerely,

Chase Operating Loss Prevention
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.11 Filed 12/13/12 Page 11 of 42
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CHASE ®

Chase Operating Loss Prevention
10/13/2011

KHUDHIR, AMMAR A
4390 15 MILE RD
STERLING HEIGHTS, MI 48310-5411

Re: Account Number(s) 849645775
Reference event #3239964

Dear Customer:

A review of our records indicates that we are unable to retain your above-referenced account(s) (the
"Accounts") at JPMorgan Chase Bank, N.A. (the "Bank”).

The terms and conditions governing the Accounts ("Account Rules") provide that the Bank may close your
Accounts at any time. Although the Account Rules do not require the Bank to provide you with advance notice
of the termination of the Accounts, as a courtesy, please be advised that the Accounts will be terminated and
closed after the close of business on 10/30/2011. Any items presented for payment on the Accounts and not paid
prior to termination will be returned unpaid. If the Accounts were covered by Overdraft Protection, as that term
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deposited to your Accounts within the five (5) business day period before the Accounts are closed and no
deposits of any kind have been made to your Accounts within a two (2) business day period before such
closure, upon closure the Bank will, at your risk, mail to you at the address set forth above a check for the
balance of your Accounts, less any service charges assessed to the Accounts. If deposits are made to the
Accounts prior to closure inconsistent with the foregoing, the Bank will mail your check as soon as reasonably
possible following closure of the Accounts. If you wish to make other arrangements for receipt of any funds
remaining in the Accounts or if you have questions, please contact 1-877-691-8086 OPTION-NUMBER-1.

Notwithstanding the Bank's intent to allow the Accounts to remain open until 10/30/2011 as set forth above, the
Bank reserves the right to close the Accounts earlier, at any time, for any reason, without notice.

Sincerely,

Chase Operating Loss Prevention
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.12 Filed 12/13/12 Page 12 of 42

Exhibit B
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.13 Filed 12/13/12 Page 13 of 42

                              

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LUTHERAN SOCIAL SERVICES OF MICHIGAN GLADLY PRESENTS

Ammar Khudhir

WITH THIS CERTIFICATE OF APPRECIATION

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Employment and ESL Programs,
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Refugee Services (

  
    

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Mihaela Mitrofan
Program Manager

    

 

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- Sr. Refugee Specialist

 

 

 

 

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.14 Filed 12/13/12 Page 14 of 42

 

Cerri Lynn Land

SECRETARY OF STATE

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Ammar Khudhir Notary Sablir, for the County of Macomb

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Form 19--(42/02)

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May 25, 2016.

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.15 Filed 12/13/12 Page 15 of 42

Exhibit C
Case 4:12-cv-15469-GAD-MKM ECF No.1, PagelD.16 Filed 12/13/12 Page 16 of 42

CHASE 9

Chase Operating Loss Prevention

10/13/2011

Gout, ZINAY7
4390 15 MILE RD
STERLING HEIGHTS, MI 48310-5411

Re: Account Number(s) 29218053 7999488 15;349647987
Reference event #3239964 oo

Dear Customer:

A review of our records indicates that we are unable to retain your above-referenced account(s) (the
" Accounts") at JPMorgan Chase Bank, N.A. (the "Bank").

The terms and conditions governing the Accounts ("Account Rules") provide that the Bank may close your
Accounts at any time. Although the Account Rules do not require the Bank to provide you with advance notice
of the termination of the Accounts, as a courtesy, please be advised that the Accounts will be terminated and
closed after the close of business on 10/30/2011. Any items presented for payment on the Accounts and not paid
prior to termination will be returned unpaid. If the Accounts were covered by Overdraft Protection, as that term
is defined in the Account Rules, such Overdraft Protection will terminate with respect to the Accounts on the

Termination Date.

Please do not deposit checks to the Accounts within five (5) business days of the Termination Date or any
earlier date that you close the Accounts. Please arrange to cause any Automated Clearing House or ACH
deposits or transfers to the Accounts to be terminated prior to closure. Provided that no checks have been
deposited to your Accounts within the five (5) business day period before the Accounts are closed and no
deposits of any kind have been made to your Accounts within a two (2) business day period before such
closure, upon closure the Bank will, at your risk, mail to you at the address set forth above a check for the
balance of your Accounts, less any service charges assessed to the Accounts. If deposits are made to the
Accounts prior to closure inconsistent with the foregoing, the Bank will mail your check as soon as reasonably
possible following closure of the Accounts. If you wish to make other arrangements for receipt of any funds
remaining in the Accounts or if you have questions, please contact 1-877-691-8086 OPTION-NUMBER-1.

Notwithstanding the Bank's intent to allow the Accounts to remain open until 10/30/2011 as set forth above, the
Bank reserves the right to close the Accounts earlier, at any time, for any reason, without notice.

Sincerely,

Chase Operating Loss Prevention
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.17 Filed 12/13/12 Page 17 of 42

Cardmember Services

Attn: Executive Office CH ASE “

Mailstop: IL1-6215
2500 Westfield Drive
Elgin, IL 60124
4-877-225-0841

November 11, 2011

07188 ROS 001 003 31511 - NNNNNNNNNNNN

Zina Y Yousif
4390 15 Mile Rd
Sterling Heights MI 48310-5411

Important information is
provided below regarding
your account.

RE: Your account ending in 7469

Dear Zina Y Yousif:

We are writing to notify you that we have closed the account referenced above. This action was taken in accordance
with our rights under the section titled, Termination, within your Cardmember Agreement.

We are taking this action due to the following reason:

Chase affiliate has closed your account

If there is a balance owing on the account, we will continue to send monthly statements until the balance is
paid in full.

In addition, please destroy all the cards and checks that access this account. Also, please be sure to contact any
merchants that you have authorized to make automatic charges, such as for insurance, memberships, or ongoing
services. You will need to cancel those charges or make other payment arrangements.

Sincerely,

Cardmember Services
4-877-225-0851

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.18 Filed 12/13/12 Page 18 of 42

Cardmember Services
Attn: Executive Office
Mailstop: IL1-6215
2500 Westfield Drive
Elgin, IL 60124
1-877-225-0851

07199 RCS 001 008 31811 - NNNNNNNNNNNN
Zina Y Yousif

4390 15 Mile Rd

Sterling Heights MI 48310-5411

RE: Your account ending in 9770

Dear Zina Y Yousif:

CHASE ©

November 11, 2011

Important information is
provided below regarding
your account.

We are writing to notify you that we have closed the account referenced above. This action was taken in accordance
with our rights under the section titled, Termination, within your Cardmember Agreement.

We are taking this action due to the following reason:

Chase affiliate has closed your account

if there is a balance owing on the account, we will continue to send monthly statements until the balance is

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In addition, please destroy all the cards and checks that access this account. Also, please be sure to contact any
merchants that you have authorized to make automatic charges, such as for insurance, memberships, or ongoing
services. You will need to cancel those charges or make other payment arrangements.

Sincerely,

Cardmember Services
1-877-225-0851

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.19 Filed 12/13/12 Page 19 of 42

Exhibit D
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.20 Filed 12/13/12 Page 20 of 42
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General Instructions
Henry Ford Medical Center Sterling Heights - Emergency Department
3500 Fifteen Mile Road, Sterling Heights, Ml 48310 (586) 977-6208
12/20/2011

Patient Name: KHUDHIR, AMMAR

Thank you for visiting the Henry Ford Medical Center Sterling Heights-Emergency Department.
You have been evaluated today by GHoughton, M.D. for the following condition(s):

Chest pain. 12 lead EKG performed.

INSTRUCTIONS
Lose weight. Seek medical help to lose weight.

Warnings:

Further evaluation is necessary in order to obtain test results, conduct further tests and assess the
possibility of serious iliness. It is very important to follow up with a physician.

GENERAL WARNINGS: Return to the Emergency Department or contact your physician immediately if
your condition worsens or changes unexpectedly, if not improving as expected, or if other problems arise.
SPECIFICALLY, return for a return of chest pain, neck pain, jaw pain, shoulder pain, difficulty breathing, a
fluttering sensation in your chest, lightheadedness, fainting, extreme fatigue or sudden sweating.

Follow-up:
Return to the emergency department if not better. Follow up with your doctor in one day. Call for the next

available appointment.

Understanding of the discharge instructions verbalized by patient.

ADDITIONAL INFORMATION

CHEST PAIN: UNCERTAIN CAUSE

Based on your exam today, the exact cause of your chest pain is not certain. Your condition does not
seem serious at this time, and your pain does not appear to be coming from your heart. However,
sometimes the signs of a serious problem take more time to appear. Therefore, watch for the warning
signs listed below.

Home Care:
1) Rest today and avoid strenuous activity.

2) Take any prescribed medicine as directed.
Follow up with your doctor or this facility as instructed or if you do not start to feel better within 24 hours.

(Note: If an X-ray or EKG (cardiogram) was made, it will be reviewed by another specialist. You will be
notified of any new findings that may affect your care.]

Return Promptly or contact your doctor if any of the following occur:

-- Achange in the type of pain: if it feels different, becomes more severe, lasts longer, or begins to spread
into your shoulder, arm, neck, jaw or back

.- Shortness of breath or increased pain with breathing
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KHUDHIR, AMMAR 12/20/2011 MR# 57715931 Visit# 577159311354 Discharge Report with Exit Writer Instructions

-- Cough with dark colored sputum (phlegm) or blood
-- Weakness, dizziness, or fainting
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.22 Filed 12/13/12 Page 22 of 42

wwame: KHUDHIR, AMMAR MRN: HF 57715931 Status: Final (version 3 of 3) Latest: Final

an
Document State: Final (version 3)
CE vres) CHEST 2 VIEWS Update Date/Time: 12/20/2011 03:09

 

 

Pationt Name: KHUDHIR, AMMAR MRN: HF 57715931 Service Date/Time: 12/20/2011 02:56
DOB/Age/Gender: 05/25/1969 42y Male Provider: GREG S HOUGHTON MD
Location: HF,HF Medical Center-Sterling Heights Responsible Staff:

KHUDHIR, AMMAR MRN: 57715931 DOB: 05/25/1969 (Male)

TEST: CHEST 2 VIEWS DATE/TIME: 12/20/2011 02:56
Patient Location: STH

Requesting Physician: HOUGHTON, GREGORY §

Date/Time Exam Description IcD-9 Code Accession
12/20/2011 02:56 CHEST 2 VIEWS 786.59 26816069

Chest 2 views on 12/20/2011.
History: Chest pain.
Findings:

No prior exams for comparison.

The cardiac silhouette size is enlarged to moderate degree.
Mediastinal contours are smooth and pulmonary vasculature appears
within normal limits.

No pneumothorax, pleural effusion or acute osseous abnormality
identified.

Lungs appear grossly clear bilaterally.

Impression:

No pneumonia, pneumothorax or CHF.
Enlarged cardiac silhouette without prior exams for comparison, most

likely moderate cardiomegaly, however pericardial effusion not

excluded.

Interpreted by: MARK DEARING, M.D.
Report reviewed and signed: MARK DEARING, M.D.
Date signed: 12/20/2011 03:09:00 AM
Typed by: Powerscribe Interface

 

 

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.23 Filed 12/13/12 Page 23 of 42

ent Name: KHUDHIR, AMMAR MRN: HF 57715931

 

Clinical Lab Results

Patient Name: KHUDHIR, AMMAR

MRN: HF 57715931
DOB: 05/25/1969 42y
Gender: Male

 

Troponin I, Directed

Collect: 12/20/2011 02:41
Order Priority: Stat

Ordered By: GREG S HOUGHTON MD

, Troponin I
<0.04

Negative for myocardial damage.

‘i

Basic Metabolic Profile

Test performed by Bayer Centaur Method.

Collect: 12/20/2011 02:41
Order Priority: Stat

Ordered By: GREG § HOUGHTON MD

» Sodium, Serum 140 mmol/L [135-145] Reported: 12/20/2011 03:05 STH

ie Potassium 3.4 mmol/L [3.5-5.0] Reported: 12/20/2011 03:05 STH

| Chloride 104 mmol/L [95-108] Reported: 12/20/2011 03:05 STH- a
» Carbon Dioxide 29 mmol/L [24-32] Reported: 12/20/2011 03:05 STH

; Anion Gap 7 [3-13] Reported: 12/20/2011 03:05 STH

, BUN ' 14 mg/dL [10-25] Reported: 12/20/2011 03:05 STH

| Creatinine 1.0 mg/dL [0.9-1.3] Reported: 12/20/2011 03:05 STH

‘* Glucose, Serum 302 mg/dL {50-140} Reported: 12/20/2011.03:05 STH . woo
! Calcium, Scrum 8.7 mg/dL (8.5-10.5} Reported: 12/20/2011 03:05 STH

Accession: T675970

[<0.05}

Accession: T675970

Reported: 12/20/2011 03:17
Status: Final as of 12/20/2011 03:17

Reported: 12/20/2011 03:17

STH

Reported: 12/20/2011 03:05
Status: Final as of 12/20/2011 03:05

 

 

Magnesium

Collect: 12/20/2011 02:41
Order Priority: Stat

‘Ordered By: GREG $ HOUGHTON MD

'* Magnesium, Serum
CBC .

1.6 mg/dL

Collect: 12/20/2011 02:41
Order Priority: Stat

Ordered By: GREG S HOUGHTON MD

Accession: T675970

[1.8-2.3]
Accession: T675970

Reported: 12/20/2011 03:05
Status: Final as of 12/20/2011 03:05

Reported: 12/20/2011 03:05

STH

Reported: 12/20/2011 02:58»
Status: Final as of 12/20/2011 02:58

 

 

WBC Count 5.9 K/uL [3.8-10.6] Reported: 12/20/2011 02:58 STH
RBC Count 4.78 MAL [4.40-6.00] Reported: 12/20/2011 02:58 STH
'* Hemoglobin 13.0 g/dL [13.5-17.0] Reported: 12/20/2011 02:58 STH
'* Hematocrit 37.8 % [41-53] Reported: 12/20/2011 02:58 STH
|» MCV 79.1 fil [80-100] Reported: 12/20/2011 02:58 STH
: MCH 27.3 pg [26-34] Reported: 12/20/2011 02:58 STH
MCHC 34.4 g/dL {31-37] Reported: 12/20/2011 02:58 STH
i RDW 13.5% (<14.5] Reported: 12/20/2011 02:58 STH
‘Platelet Count 232 K/uL [150-450] Reported: 12/20/2011 02:58 STH
Differential Collect: 12/20/2011 02:41 Accession: T675970 Reported: 12/20/2011 02:58

Order Priority: Stat

‘Ordered By: GREG S HOUGHTON MD

Status: Final as of 12/20/2011 02:58

; Neutrophil, % 49% Reported: 12/20/2011 02:58 STH:
; Lymphocyte, % 36% Reported: 12/20/2011 02:58 STH
' Monocyte, % 11% Reported: 12/20/2011 02:58 STH
, Eosinophil, % 3% Reported: 12/20/2011 02:58 STH
!  Basophil, % 1% Reported: 12/20/2011 02:58 STH

Neutrophil, Absolute 3.00 K/uL [1.80-7.70] Reported: 12/20/2011, 02:58 STH
i Lymphocytes, Absolute 2.10 K/uL {1.10-4.00] Reported: 12/20/2011 02:58 STH
' Monocyte, Absolute 0.60 K/uL [0.00-0.80] Reported: 12/20/2011 02:58 STH
Eosinophils, Absolute 0.20 K/uL [0.00-0.70] Reported: 12/20/2011 02:58 STH
L Basophils, Absolute 0.10 K/uL [0.00-0.20] Reported: 12/20/2011 02:58 STH

 

 

Glucose, Meter, OP

‘Ordered By:
[x Glucose, Metered

i

Collect: 12/20/2011 02:18
Order Priority: Routine

315 mg/dL

Performed by: Garland Maria

Accession: T675933

{50-140}

Reported: 12/20/2011 02:26
Status: Final as of 12/20/2011 02:26

Reported: 12/20/2011 02:26

HFH

 

Requested by: GREG S HOUGHTON 12/20/2011 , 03:20 Page | of 2
ID: zZU-Lec-2u Lt 4id0:07 say eas {HTL {l] FTLATT| UTTINTT

QURAN AAT

577 15 93 1 1354
KHUDHIR
AMMAR

KHUDHIR, AMMAR

 

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Case 4:12-cv-15469- - .
69-GAD-MKM ECF No. 1, PagelD.25 Riled 12/13/12 Page 25 of 42

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General Instructions

Henry Ford Medical Center Sterling Heights - Emergency Department
3500 Fifteen Mile Road, Sterling Heights, MI 48310 (586) 977-6208
11/12/2011

Patient Name: KHUDHIR, AMMAR

Thank you for visiting the Henry Ford Medical Center Sterling Heights-Emergency Department.
You have been evaluated today by ROtero, M_D. for the following condition(s):

Hyperglycemia.
please follow your diabetic diet. Please continue to monitor your glucose when you get home.

INSTRUCTIONS

Understanding of the discharge instructions verbalized by patient.

ADDITIONAL INFORMATION

DIABETES WITH HIGH BLOOD SUGAR
You have been treated for high blood sugar (hyperglycemia). This may be the result of an infection or
other illness, not following your diet (eating too many sweets or starches), not taking enough insulin, or

other factors.

Home Care:
1) High blood sugar may cause symptoms that you can learn to recognize, such as those listed below.

2) \f you feel like your blood sugar may be too high, measure it using a blood or urine test. If it is above
your usual range, use the "sliding scale" Regular insulin dose your doctor gave you to correct this. If no
"sliding scale" orders were given, contact your doctor for further advice.

3) If your blood sugar is over 300, and you can't reach your doctor, call or return to this facility.

Follow Up: Monitor and write down your blood sugars at least twice a day (before breakfast and before
dinner). Do this for the next 3-5 days. See your doctor during the next week to review these records. You

will find out if you need to adjust your insulin dose.

Return Promptly or contact your doctor if any of the following occur:
-- High Blood Sugar: frequent urination, feeling dizzy, thirst, headache, nausea or vomiting, abdominal

pain, drowsiness or loss of consciousness
-- Low Blood Sugar: fatigue, headache, shakes, excess sweating, hunger, anxiety, reduced vision,

drowsiness, weakness, contusion or loss of consciousness
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.26 Filed 12/13/12 Page 26 of 42

Exhibit E
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.27 Filed 12/13/12 Page 27 of 42

 

Pewosu sivaure cara MMIETAUETAH NATE GUNMEN |

ACCOUNT TITLE ACCOUNT NUMBER 849645775
AMMAR A KHUDHIR TAXRESPONSIBLEID# — XXX-XX-XXXX
ACCOUNT TYPE Chase Checking

DATEOPENED 09/11/2009

New Account
ISSUED BY
PERSONALADDRESS 4390 15 MILE RD Dequindre 18 Mile Rd
618
STERLING HEIGHTS, MI 48310-5411 KRISTOFER R SZTEIN
614-248-5800
TYPE OF OWNERSHIP individual 09/41/2009
TAXPAYER DATE OF PRIMARY ID PRIMARY ID ISSUER ISSUANCE €&XP SECONDARY ID SECONDARY IO ISSUER ISSUANCE EXP
ID # BIRTH TYPE NUMBER DATE DATE TYPE NUMBER DATE DATE
4) XXX-XX-XXXX * 0925/1969 Driver's License 360066027394 MI 0825/2012 Emp! Authorization Card LIN0822750643 06/20/2010
2)
3)
4)
5)
6)
7)
8)

(*Tax Reaponsibility indicator)

CUSTOMER(S) TO BE ADDED LATER a
ACKNOWLEDGEMENT - By signing this Signature Card, | am applying to JPMorgan Chase Bank, N.A. (the Bank) to open the deposit account Indicated above. | certify that the information provided hereon is true to the best of my knowledge and
authorize the Bank, at its discretion, to obtain credit reports and employment verifications on me. | acknowledge receipt of the Bank's Account Rules and Regulations or other applicable account agreement, which includes all provisions that apply

to this deposit account and the Bank Privacy Policy, and agree to be bound by the terms end conditions contained therein as amended from time to time. For joint accounts, | agree that all parties are responsible for any overdraft of any amount due
to the return of a deposited check withoyt condition or fimitation. .
CERTIFICATION - | certify under penalties of perjury that (1) the Texpayer identification Number shown above ts correct, and (2) 1am not subject to backup withholding b (a) tam pt from backup withholding, or (b}!
have not been notified by the Internal Revenue Service (IRS) that | em subject to backup withholding as a result of fatture to report all Interest or dividends, or (c) the IRS has notified me that | am no longer subject to backup
withholding, end (3)! am a U.S, citizen or other U.S. person (as defined In the Form W-9 instructions).

if the IRS has notified the Depositor that It is subject to backup withholding due to underreporting Interest or dividends on its tax return, cross out item 2 above.
The Internal Revenue Service does not require your consent to any provision of this document other than the certifications required to avoid backup withholding.

i el NAME DATE SIGNATURE NAME DATE SIGNATURE
Se
4) AMMAR AKHUDHIR * |\V 09 X ae 5)

 

 

 

 

 

2) 6)
3) 7)
4) 8)

 

 
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.28 Filed 12/13/12 Page 28 of 42

 

 

 

Personal Signature Card
ACCOUNT TITLE ACCOUNT NUMBER
AMMAR A KHUDHIR TAX RESPONSIBLE ID #
ACCOUNT TYPE
DATE OPENED

ISSUED BY

PERSONAL ADDRESS 4390 15 MILE RD
STERLING HEIGHTS, MI! 48310-5411
United States

TYPE OF OWNERSHIP Individual

TAXPAYER DATEOF PRIMARY ID PRIMARY ID ISSUER ISSUANCE EXP SECONDARY ID
ID # BIRTH TYPE NUMBER DATE DATE TYPE

41) 378-358-0086 * 05/25/1969 Oriver's License K360066027304 Mi 06/25/2012 Empt Authorization Card
2)

3)

4)

5)

8)

7)

8) (“Tax Responsibility Indicator)

CUSTOMER(S) TO BE ADDED LATER
ACKNOWLEDGEMENT - By signing this Signature Card, | am applying to JPMotgan Chase Bank, N.A. (the Bank) to open the deposit account ind

to this deposlt account and the Bank Privacy Policy, and agree to be bound by the terms and conditions contsined therein 2s amended from time

to the return of a deposited check without condition or limitation.

CERTIFICATION -{ certify under penalties of perjury that (1) the Taxpayer tdentification Number shown above Is correct, and (2) lam not subj
have not been notified by the Intemal Revenue Service (IRS) that | am subject to backup withholding as a result of failure to report all interest or dividends, or
withhotding, and (3) am a U.S. citizen or other U.S, person (as defined in the Form W-9 instructions).

H the IRS hae notified the Depositor that It Is subject to backup withholding due to underreporting interest or dividends on its tax return, cross out item 2 above.
The Internal Revenue Service does not require your consent to any provision of this document other than the certifications required to avoid backup withholding.

BSP ell NAME DATE SIGNATURE

41) AMMAR A KHUDHIR

NAME

ee 5)

} ~ 276-1010
—

2) 6)

3) 7

8)

wu

leated above. | certify that the information provided hereon Is true to the best of my knowledge and
authorize the Bank, at ts discretion, to obtain credit reports and employment varifications on me. | acknowledge receipt of the Bank's Account Rules and Regulations ot other applicable account agreement, which Includes eif provisions that apply
to time. For joint accounts, | agree that alt parties are responsible for any overdraft of any amount due

lect to backup withholding because: (a)! am exempt from backup withholding, or (b)!
(c) the IRS has notified me that | am no fonger subject to backup

 

wn PREC

849645775
XXX-XX-XXXX
Chase Checking

09/11/2009

JPMorgan Chase Bank, N.A. (021 )
Dequindre 18 Mile Rd

618

TANA L LORENGER

(586) 978-7974

01/26/2010

SECONDARY ID
NUMBER
LIN0822750643

ISSUANCE EXP
DATE DATE
68/20/2010

ISSUER
USA

 

DATE SIGNATURE

 

 

4)

 
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.29 Filed 12/13/12 Pagepagi 6#12

CHAS E mt] September 11, 2009 through September 18, 2009
JPMorgan Chase Bank, N.A. Account Number, 000000849645775

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
LalusHDesforeDBassol lM ssesbabseboolsssllaseldlefedlansdall Service Center. 1-800-935-9935
00004641 DRE 021 141 26209- NYNNN T 1 000000000 13 0000 Hearing Impaired: 4-800-242-7383
AMMAR A KHUDHIR Para Espanol: 1-877-312-4273
4390 15 MILE RD Internationa! Cails: 1-713-262-1679

STERLING HEIGHTS MI 48310-5411

CO

00046410101400000021

STARTING 10/25/2009, THE STOP PAYMENT FEE WILL BE LOWERED TO $25
WHEN YOU REQUEST A STOP PAYMENT FOR A CHECK ONLINE THROUGH
CHASE.COM. THE FEE WILL REMAIN THE SAME AT $32 IF YOU GO INTO A
BRANCH OR CALL US TO REQUEST A STOP PAYMENT. PLEASE CALL US AT
4-800-935-9935 IF YOU HAVE QUESTIONS.

IF YOU HAVE A CHASE PREMIER PLATINUM CHECKING ACCOUNT OR A CHASE

PREMIER PLATINUM ASSET MANAGEMENT ACCOUNT, THE FEE FOR STOP
PAYMENTS WILL CONTINUE TO BE WAIVED.

 

[ CHECKING SUMMARY | _“=° Checking

 

 

AMOUNT
Beginning Balance $0.00
Deposits and Additions 50.00
Ending Balance $50.00

This message confirms that you have overdraft protection on your checking account.

[DEPOSITS AND ADDITIONS|

 

 

 

 

DATE DESCRIPTION AMOUNT

0o/11 Deposit $50.00

Total Deposits and Additions $50.00
Page 102

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.30 Filed 12/13/12 Page 30 of 4
Page 5 of 12

CHASE G September 11, 2009 through September 18, 2009
Account Number, 000000849645775

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $________-_—_
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

 

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $.

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

 

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

Step 4 Total: -$

 

5, Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt Is incorrect or If you
need more information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

¢ Your name and account number

« The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error 90 that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

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Page 2 of 2

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12/14/2011
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CHASE QO

JPMorgan Chase Bank, N.A.
P O Box 260180
Baton Rouge, LA 70826-0180

 

September 19, 2009 through October 20, 2009
Account Number, 000000849645775

 

CUSTOMER SERVICE INFORMATION

 

 

 

 

Web site: Chase.com
LedaoDDeclsced/aroeU/UasvelotesdosdsoaEdaostEatoall esseleall Service Center: 1-800-985-9935
00008614 DRE 021 141 29409 - NYNNNT 1 000000000 13 0000 Hearing Impaired: 1-800-242-7383
AMMAR A KHUDHIR Para Espanol: 1-877-312-4273
4390 15 MILE RD International Calls: 1-713-262-1679
STERLING HEIGHTS MI 48310-5411
[CHECKING SUMMARY |_"se Checks
AMOUNT
Beginning Balance $50.00
Ending Balance $50.00

This message confirms that you have overdraft protection on your checking account.

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12/14/2011
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CHASE oO September 19, 2009 through October 20, 2009

Account Number; 00000084964577: 5

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $________——
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

 

 

Step 2 Total: = $_______
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4, List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

 

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

Step 4 Total: -$.
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

 

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer listed on the statement or receipt. We must hear you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

« Your name and account number

© The dollar amount of the error

« A description of the error or transfer you are unsure of, why you believe itis an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error 80 that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect oF if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error
appears, you must notify the bank in writing ne later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account.

a JPMorgan Chase Bank, N.A. Member FDIC

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CHASE So October 21, 2009 through November 19, 2008
JPMorgan n Chase Bank, N.A. Account Number: 000000849645775

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
LabesEYealoseDDosostS0DacsetassDsabonedd cool babuelbreshell Service Center: 1-800-935-9935
00042996 DRE 021 141 82409- YNNNYT 1 000000000 13 0000 Hearing impaired: 1-800-242-7383
AMMAR A KHUDHIR Para Espanol: 1-877-312-4273
4390 15 MILE RD Intemational Calls: 1-713-262-1679

STERLING HEIGHTS MI 48310-5411

AMT

00429000201240000022

Great news!

Now you can bank wherever you see the Chase sign at more than 15,000 Chase ATMs and over 5,100 branches
nationwide. Many branches are open longer hours on Fridays and Saturdays — when you need them most. We're
excited to bring you the convenience of full banking access from coast to coast .

 

[CHECKING SUMMARY |_"2e Cheng

 

 

AMOUNT
Beginning Balance $50.00
Deposits and Additions 50.77
Other Withdrawals, Fees & Charges - 25.77
Ending Balance $75.00

Your monthly service fee was waived because you had a direct deposit OR at least 5 debit card purchases during the
statement period.

This message confirms that you have overdraft protection on your checking account.

[DEPOSITS AND ADDITIONS}

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
11/03 Deposit 603934542 $50.00
11/10 JPMorgan Chase Auth Crdt PPD ID: 9200502233 0.41
11/10 JPMorgan Chase Auth Crat PPD ID: 9200502233 0.38
Total Deposits and Additions $50.77

 

 

[OTHER WITHDRAWALS, FEES & CHARGES]

 

 

DATE DESCRIPTION AMOUNT

10/26 Leisure Rewards Annual Fee. 0929 $25.00

11/410 JPMorgan Chase Auth Debit PPD ID: 9200502233 0.77

Total Other Withdrawals, Fees & Charges $25.77
Page 1 of 4

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CHASE Oo October 21, 2009 through November 19, 2009

Account Number, 000000849645775

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

4. Write in the Ending Balance shown on this statement: Step 1 Balance: $.
2. List and total all deposits & additions not shown on this statement:

 

Date Amount Date Amount Date Amount

 

 

 

Step 2 Total: $.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Add Step 2 Total to Step 1 Balance. Step 3Total: $
4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.
Check Number or Date Amount Check Number or Date Amount
Step 4 Total: -$

 

5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect or if you
need more information about a transfer fisted on the statement or receipt. We must hear from you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

« Your name and account number

© The dollar amount of the suspected error

* A description of the error or transfer you are unaure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptty. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will oredit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic traneactions (checks or deposits) on this statement. If any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that governs your account.

a JPMorgan Chase Bank, N.A. Member FDIC

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CHASE oO October 21, 2009 through November 19, 2009
Account Number. 000000849645775
Chase Gift Cards are the Perfect Gift!
° Available in any amount from $25 to $500
° Convenient and secure
° Accepted at millions of locations worldwide
° The perfect gift for any occasion

Order online at chase.com/GiftCardOrder or stop by a Chase branch today!

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Page 3 of 4

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CHASES October 21, 2009 through November 19, 2009
Account Number: /000000849645775

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CHASES November 20, 2009 through December 17, 2009

JPMorgan Chase Bank, N.A. 00000084964577:
PO Box 260180 Account Number: 5

Baton Rouge, LA 70826-0180

 

CUSTOMER SERVICE INFORMATION

 

Web site: Chase.com
LalaalberdaceDDesueUUGDsarsledaadaalonelDucsf¥Ualastl eral ull Service Center: 1-800-985-9935
00047090 DRE 021 141 35209- NNYNN T 1 000000000 13 0000 Hearing impaired: 1-800-242-7383
AMMAR A KHUDHIR Para Espanol: 1-877-312-4273
4390 15 MILE RD International Calls: 1-713-262-1679

STERLING HEIGHTS MI 48310-5411

AO

00470300201010000022

Important Information about your new Chase CheckingS™ Account

Thank you for opening a new Chase CheckingS™ account. We hope that by now you have received your new
account materials and are taking advantage of all of the free convenience services that come with your account.

We did notice that you have not yet established Direct Deposit, which is the best and most convenient way to
avoid the monthly service fee associated with this account. Enrolling in this free service is simple...
1. Visit Chase.com/DirectDeposit to open the Direct Deposit form.
2. Type in your name, address and account information. When you're done, print the completed form.
3. Attach a voided check and take the form to your employer's payroll department. That's it--your employer
does the rest!

To enroll in Direct Deposit for Social Security checks visit a Chase banker and we'll handle all of the details!

 

[ CHECKING SUMMARY | 22 hectna

 

 

AMOUNT
Beginning Balance $75.00
Deposits and Additions 1,332.00
Other Withdrawals, Fees & Charges - 1,006.00
Ending Balance $401.00

This message confirms that you have overdraft protection on your checking account.

 

 

[DEPOSITS AND ADDITIONS|

 

 

DATE DESCRIPTION AMOUNT

12/08 Deposit 605734787 $1,332.00

Total Deposits and Additions $1,382.00
Page tod

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.38 Filed 12/13/12 Pagepas 0 o'6£ 12

CHASE o November 20, 2009 through December 17, 2009

Account Number. 000000849645775

 

 

Note: Ensure your checkbook register is up to date with all transactions to date whether they are included on your
statement or not.

1. Write in the Ending Balance shown on this statement: Step 1 Balance: $____
2. List and total all deposits & additions not shown on this statement:

Date Amount Date Amount Date Amount

 

 

 

 

 

 

Step 2 Total: $
3. Add Step 2 Total to Step 1 Balance. Step 3 Total: $

4. List and total all checks, ATM withdrawals, debit card purchases and other withdrawals
not shown on this statement.

Check Number or Date Amount Check Number or Date Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Step 4 Total: -$
5. Subtract Step 4 Total from Step 3 Total. This should match your Checkbook Balance: $.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address on
the front of this statement (non-personal accounts contact Customer Service) if you think your statement or teceipt is Incorrect or If you
need more information about a transfer listed on the statement or receipt. We must hear you no later than 60 days after we sent you
the FIRST statement on which the problem or error appeared. Be prepared to give us the following information:

« Your name and account number

* The dollar amount of the suspected error

° A description of the error or transfer you are unaure of, why you believe it is an error, or why you need more information.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for
new accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the
time it takes us to complete our investigation.

IN CAGE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS:Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. {f any such error
appears, you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete
details, see the Account Rules and Regulations or other applicable account agreement that govems your account.

2 JPMorgan Chase Bank, N.A. Member FDIC

Page 2 of 4

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, P
,PagelD.39 Filed 12/13/12 Pageg39.9f f8¢ 12

CHAS E Go November 20, 2009 through December 17, 2009

Account Number, 000000849645775

 

[OTHER WITHDRAWALS, FEES & CHARGES|

 

 

 

 

 

DATE DESCRIPTION AMOUNT
12/10 Withdrawal $1,000.00
12/17 _ Service Fee 6.00 J
Total Other Withdrawals, Fees & Charges $1,006.00 =
==
Did you know your monthly service fee is waived when you have a direct deposit OR at least 5 debit card purchases each ee
statement period? =m
=
=
ae 5

Page 3 ot 4

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.40 Filed 12/13/12 Page 40 of 42
Page 12 of 12

CHASE wr) November 20, 2009 through December 17, 2009

Account Number. 000000849645775

Chase Gift Cards are the Perfect Gift!

Available in any amount from $25 to $500
Convenient and secure

Accepted at millions of locations worldwide
The perfect gift for any occasion

Order online at chase.convGiftCardOrder or stop by a Chase branch today!

Page 4 ot 4

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Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD. At. Filed 12/13/12 Page 41 of 42
Case:4:12-cv-15469

Judge: Drain, Gershwin A.

JS 44 (Rev. 09/11) CIVIL COVER S MJ: Majzoub, Mona K.

. Filed: 12-13-2012 At 04:34 PM
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filix CMP AMMAR KH
by local rules of court. This form, approved by the Judicial Conference of the United States in Septem! UDHIR V JP MORGAN CHASE

 

 

 

    

 

 

 

 

 

 
  
  
 

the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) BANK (LG)
I. (a) PLAINTIFFS DEFENDANTS
AMMAR KHUDHIR 69 JP MORGAN CHASE BANK
(b) County of Residence of First Listed Plaintiff [MACOMB County of Residence of First Listed Defendant MACOMB / ( p 0 j
(EXCEPT IN US. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys ({f Known)
SELF REPRESENTATION
II. BASIS OF JURISDICTION = (lace an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “X" in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendan
O01. U.S. Government 0 3 Federal Question P DEF P D
Plaintiff (U.S. Government Not a Party) Citizen of This State 7} 1 Incorporated or Principal Place 74 Ks
of Business In This State
0 2 US. Government 4 Diversity Citizen of Another State G2 © 2 Incorporated and Principal Place aos 05
Defendant ‘Indicate Citizenship of Parties in Item ILI) of Business In Another State
Citizen or Subject of a 03 O 3 Foreign Nation o6 06
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine © 310 Airplane 13 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 1 400 State Reapportionment
130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 O 410 Antitrust
C140 Negotiable Instrument Liability O 367 Health Care/ 6 430 Banks and Banking
(3 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical Ee ©) 450 Commerce
& Enforcement of Judgment Slander Personal Injury 6 820 Copyrights © 460 Deportation
© 151 Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent © 470 Racketeer Influenced and
G8 152 Recovery of Defaulted Liability O) 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans C1 340 Marine Injury Product G 480 Consumer Credit
(Excl. Veterans) C7 345 Marine Product Liability ea enn EaIee eee) (490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 0) 710 Fair Labor Standards 0 861 HEA (1395ff) ecurities/Commodities/
of Veteran’s Benefits 01 350 Motor Vehicle © 370 Other Fraud Act O 862 Black Lung (923) change
160 Stockholders’ Suits 0 355 Motor Vehicle 2 371 Truth in Lending (1 720 Labor/Mgmt. Relations | (1) 863 DIWC/DIWW (405(g)) 7] & 890 Ofher Statutory Actions
190 Other Contract Product Liability O +380 Other Personal C740 Railway Labor Act (1 864 SSID Title XVI O 891 Agricultural Acts
© 195 Contract Product Liability |( 360 Other Personal Property Damage O 751 Family and Medical G 865 RSI (405(g)) a Environmental Matters
0 196 Franchise Injury O 385 Property Damage Leave Act 895 Freedom of Information
OC 362 Personal injury - Product Liability 790 Other Labor Litigation Act
Med. Maip _| OG 791 Empl. Ret. Inc. 896 Arbitration

      

     

 

 

 

 

 

 

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© 210 Land Condemnation 440 Other Civi Rights Motions to Vacate 6 870 Taxes (US. Plaintiff Act/Review or Appeal of
O 220 Foreclosure 0 441 Voting Sentence or Defendant) Agency Decision
(7 230 Rent Lease & Ejectment 6 442 Employment Habeas Corpus: O 871 IRS—Third Party (J 950 Constitutionality of
CI 240 Torts to Land © 443 Housing/ OF 530 General 26 USC 7609 State Statutes
C1 245 Tort Product Liability Accommodations € 535 Death Penalty PRR pea encase a
© 290 All Other Real Property (1 445 Amer. w/Disabilities - |) 540 Mandamus & Other |( 462 Naturalization Application
Employment © 550 Civil Rights 0 463 Habeas Corpus -
CG 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee
Other 0 560 Civil Detainee - (Prisoner Petition)
© 448 Education Conditions of 0 465 Other Immigration
ia Confinement Actions
.« ORIGIN (Place an “X” in One Box Only)
1 Original © © 2 Removedfrom (3 Remandedfrom © 4 Reinstatedor 5 Transferred from 4 6 mutidistrict
eding State Court Appellate Court Reopened (specifi) Litigation

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Discrimination against name & national origin, Equal opportunity, Emotional distress, Damage of reputation

 

VI. CAUSE OF ACTION

 

 

 
 

 

 

 

 

 

Brief description of cause:
_JP Morgan Chase Bank closed plaintiffs checking, savings, and credit card accounts sudden

VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if dorfian

COMPLAINT: UNDER F.R.C.P. 23 5,000,000.00 JURY DEMAND:
VII. RELATED CASE(S) _ QU
IF ANY (See imsiructions): GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY = 4
10/23/2012 oe.
‘FOR OFFICE USE ONLY ZH z

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 4:12-cv-15469-GAD-MKM ECF No. 1, PagelD.42 Filed 12/13/12 Page 42 of 42

PURSUANT TO LOCAL RULE 83.11
1. Is this a case that has been previously dismissed?

If yes, give the following information:

 

Court:

 

Case No.:

 

Judge:

 

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other at

court, including state court? (Companion cases are matters in which
it appears substantially similar evidence will be offered or the sam¢
or related parties are present and the cases arise out of the same

transaction or occurrence.)

If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Notes :
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